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DebtorName “Dolan WACDon mettre WoFeiKo ak
United States Bankruptcy Court for the, SAE Wok District of MANS,

(State)

Case number: O'- lowes m m +

 

Official Form 426
Periodic Report Regarding Value, Operations, and Profitability of Entities

in Which the Debtor’s Estate Holds a Substantial or Controlling Interest
12/17

This is the Periodic Report as of 2/31 [ze on the value, operations, and profitability of those entities in which a
Debtor holds, or two or more Debtors collectively hold, a substantial or controlling interest (a “Controlled Non-Debtor
Entity”), as required by Bankruptcy Rule 2015.3. For purposes of this form, “Debtor” shall include the estate of such

Debtor.
[Name of Debtor] holds a substential or controlling interest in the following entities:
Name of Controlled Non-Debtor Entity Interest of the Debtor Tab #
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This Periodic Report contains separate reports (Entity Reports) on the value, operations, and profitability of each
Controlled Non-Debtor Entity.

Each Entity Report consists of five exhibits.

Exhibit A contains the most recently available: balance sheet, statement of income (/oss), statement of cash flows,
and a statement of changes in shareholders’ or partners’ equity (deficit) for the period covered by the Entity Report,
along with summarized footnotes.

Exhibit B describes the Controlled Non-Debtor Entity’s business operations.
Exhibit C describes claims between the Controlled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been
allocated between or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor
Entity and includes a copy of each tax sharing or tax allocation agreement to which the Controlled Non-Debtor
Entity is a party with any other Controlled Non-Debtor Entity.

Exhibit-E-describes-any-payment.-by-the-Controlled Non-Debtor Entity—of-any-claims-administrative-exnenses-or
Exhibit-E deseribes-any payment, by-the- Controlled Non-Debtor Entity, of any-claims, administrative expenses or
professional fees that have been or could be asserted against any Debtor, or the incurrence of any obligation to make
such payments, together with the reason for the entity’s payment thereof or incurrence of any obligation with

respect thereto.

This Periodic Report must be signed by a representative of the trustee or debtor in possession.

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The undersigned, having reviewed the Entity Reports for each Controlled Non-Debtor Entity, and being familiar with the Debtor's
financial affairs, verifies under the penalty of perjury that to the best of his or her knowledge, (i) this Periodic Report and the
attached Entity Reports are complete, accurate, and truthful to the best of his or her knowledge, and (ii) the Debtor did not cause
the creation of any entity with actual deliberate intent to evade the requirements of Bankruptcy Rule 2015.3

For non-individual
Debtors: x

 

Signature of Authorized Individual

 

Printed name of Authorized Individual

Date
MM/ DD /YYYY

 

For individual Debtors: = $@ Ab atyha—~ x

 

 

 

nature of Debtor 1 : Signature of Debtor 2
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Printed name of Debtor 1 Printed name of Debtor 2
Date C#ON So2y Date
MM/ DD /YYYY MM/ DD /YYYY

 

 

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Debtor Name Now Wj SSasecunher “Li- fo Zol wiw wm

 

 

ee Exhibit A: Financial Statements for [Name of Controlled Non-Debtor Entity]

 

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a Exhibit A-1: Balance Sheet for [Name of Controlled Non-Debtor Entity] as of [date]

[Provide a balance sheet dated as of the end of the most recent 3-month period of the current fiscal year and as of the
end of the preceding fiscal year.

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Describe the source of this information.]

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Case number.

 

eer Exhibit A-2: Statement of Income (Loss) for [Name of Controlled Non-Debtor Entity] for period ending [date]

 

[Provide a statement of income (/oss) for the following periods:
(i) For the initial report:

a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
the current fiscal year; and

b. the prior fiscal year.

(ii) For subsequent reports, since the closing date of the last report.

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aoe Exhibit A-3: Statement of Cash Flows for [Name of Controlled Non-Debtor Entity] for period ending [date]

 

[Provide a statement of changes in cash position for the following periods:
(i) For the initial report:

a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
the current fiscal year; and

b. the prior fiscal year.

(ii) For subsequent reports, since the closing date of the last report.

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heels Exhibit A-4: Statement of Changes in Shareholders’/Partners’ Equity (Deficif) for [Name of Controlled Non-Debtor Entity]
for period ending [date]

[Provide a statement of changes in shareholders’/partners equity (deficit) for the following periods:
(i) For the initial report:

a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
the current fiscal year; and

b. the prior fiscal year.
(ii) For subsequent reports, since the closing date of the last report.

Describe the source of this information.]

 

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Re oral Exhibit B: Description of Operations for [Name of Controlled Non-Debtor Entity]

 

[Describe the nature and extent of the Debtor's interest in the Controlled Non-Debtor Entity.

Describe the business conducted and intended to be conducted by the Controlled Non-Debtor Entity, focusing on the
entity's dominant business segments.

Describe the source of this information.] “Wu St Nedl Wr we vere ACLAVS

 

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eae Exhibit C: Description of Intercompany Claims

{List and describe the Controlled Non-Debtor Entity’s claims against any other Controlled Non-Debtor Entity, together with
the basis for such claims and whether each claim is contingent, unliquidated or disputed.

Mh

Describe the source of this information. ]

 

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ae Exhibit D: Allocation of Tax Liabilities and Assets

 

[Describe how income, losses, tax payments, tax refunds, or other tax attributes relating to federal, state, or local taxes
have been allocated between or among the Controlled Non-Debtor Entity and one or more other Controlled Non-Debtor
Entities.

 

aring-or-tax-allocation-agreementto-which-the-entity is-a_partywith_any-otherControlled
Non-Debtor Entity.

Describe the source of this information.]

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Exhibit E: Description of Controlled Non-Debtor Entity’s payments of Administrative Expenses, or Professional Fees
otherwise payable by a Debtor

[Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor Entity in
connection with any claims, administrative expenses, or professional fees that have been or could be asserted against
any Debtor.

Describe the source of this information.]

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